                Case 2:24-mj-00166-DJA Document 16 Filed 02/20/24 Page 1 of 4



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       Attorneys for Defendant
       ALEXANDER SMIRNOV
 9|
                                    UNITED STATES DISTRICT COURT
     11 DISTRICT OF NEVADA

       UNITED STATES OF AMERICA, )
     I                              )
131| Plaintiff, )
                                               ) CASEN0.2:24-mj-00166-DJA
141                     __             (    —.—
       V.                                )

151                                        )
       ALEXANDER SMIRNOV, ) DATE OF HEARING: FEB. 20, 2024
161 ) TIME OF HEARING: 3:00pm




is|—'
17|| Defendant, )



19 || DEFENDANT'S RESPONSE TO GOVERNMENT'S MEMORANDUM IN SUPPORT OF
                                DETENTION
20]
21 || COMES NOW, Defendant, ALEXANDER SMIRNOV, by and through his attorneys,

22 || DAVID Z. CHESNOFF, ESQ., and RICHARD A. SCHONFELD, ESQ, of the law firm of

23 || CHESNOFF & SCHONFELD and hereby Responds to the Government's Memorandum in
24
       Support of Detention,
25
       ///
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                Case 2:24-mj-00166-DJA Document 16 Filed 02/20/24 Page 2 of 4



 1 This Response is made and based upon the attached Memorandum of Points and


       Authorities, the argument of counsel, and any other such evidence as may be presented at the

 3
       time of hearing.
 4|
              Dated this 20th day of February, 2024.
 5
 ^ II Respectfully Submitted:


 7 1] CHESNOFF & SCHONFELD
 8
                                                       /s/ David Z. Chesnoff
 9 I DAVID Z. CHESNOFF, ESQ.
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15 || Attorneys for Defendant
                                                   ALEXANDER SMIRNOV

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                 Case 2:24-mj-00166-DJA Document 16 Filed 02/20/24 Page 3 of 4



 1 || MEMORANDUM OF POINTS AND AUTHORITIES

 2
              Notwithstanding that counsel Chesnoff contacted out of state government counsel on
 3
       Friday February 16, 2024, and asked to be apprised of any specific concerns that the government
 4
       had related to its request for a continuance of the detention hearing, the government filed their


 5 Memorandum in Support of Detention this morning. While the Defendant cannot completely


 7 || respond to the voluminous government filing, and will address the government assertions in


 ^ court, there is one aspect that counsel will respond to herein,

 9
              On February 20, 2024, at approximately 1:00pm the undersigned counsel met with
10 I
       United States Pretrial Services Officer Emily McKillip who confirmed that Mr. Smirnov was
11
            asked about his personal assets and not the business account.
12
              Accordingly, the government's claim that "the fact that Smirnov misrepresented his


14 || assets alone should cause Smimov to be detained. .." is entirely misplaced and inaccurate.


15 || DATED this 20th day of February, 2024.

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                                                     Respectfully Submitted:
17 I
                                                     CHESNOFF & SCHONFELD

19 I
                                                        /s/ David Z. Chesnoff
                                                     DAVID Z. CHESNOFF, ESQ.
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                                                     Attorneys for Defendant

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                Case 2:24-mj-00166-DJA Document 16 Filed 02/20/24 Page 4 of 4



 1 || CERTIFICAT^OF^ERYICE
 2
              I hereby certify that on this 20th day of February, 2024, I caused the forgoing document
 3
       to be filed electronically with the Clerk of the Court through the CM/ECF system for filing; and
 4
       served on counsel of record via the Court's CM/ECF system.


 6|
 ^ II /s/ Rosemary Reyes
 g I] Employee of Chesnoff & Schonfeld

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